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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,
                                                   CR 18-47-GF-BMM-3
                     Plaintiff,

        vs.
                                                    JUDGMENT OF ACQUITTAL
 JULIAN GONZALEZ,

                     Defendant.


      This case having been tried to a Judge on February 13, 2019, and in

accordance with the findings of the Judge, IT IS ORDERED that the Defendant is

ACQUITTED of the charges in the Indictment.

      DATED this 13th day February of 2019.
